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​        Hello, my name is Jason Hackbarth. Mark Holdren and I first met at Liberty High School
back in 1998. Ever since then we have been like brothers. We were on the wrestling team
together, hunted and fished together too. There were times we watched football, NASCAR, or
just watched movies at the house with our families. Mark and I even ended up marrying cousins.
His now ex-wife, Heather, is my wife's 1st cousin and I think this brought us even closer. If you
did not know us you would really think we were brothers because of how close our relationship
is. We even ended up working together at the same job at one point in our lives. Even though I
had other friends, even when I was traveling in the Army, Mark was the one person I could talk
to about anything. Mark would listen to things that I could not talk to anyone else about.
​        We all know that there are no excuses for what happened and I truly believe that Mark
knows there are no excuses too. He made mistakes and wrong choices then but is trying to be a
better man and take responsibility for his actions now. I have seen Mark drop everything to try to
help people. If you needed the last 5 dollars that he had, he would give it to you. If you need the
shirt off his back, Mark would let you have it. Even to this day while he is in jail, when we speak
to each other he wants to know all about my day and how my family is doing. The way his
character is, is the reason why he will always be my brother.
